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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 0:21-CV-62082-RKA
NATRICIA KERR,

Plaintiff,
V.

EQUIFAX INFORMATION SERVICES, LLC,
EXPERIAN INFORMATION SOLUTIONS,
INC, and TRANSUNION, LLC,

Defendant.
/

 

NOTICE OF SETTLEMENT WITH RESPECT TO DEFENDANT EXPERIAN
INFORMATION SOLUTIONS, INC.

Plaintiff Natricia Kerr submits this Notice of Settlement and states the Plaintiff and
Defendant Experian Information Solutions, Inc. have reached a settlement with regard to this case
and are presently drafting, finalizing, and executing the formal settlement documents. Upon full
execution of the same, the parties will file the appropriate dismissal documents with the Court.
The case remains open with respect to the remaining Defendants.

Dated: November 17, 2021
Respectfully Submitted,

/s/ Thomas Patti
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COUNSEL FOR PLAINTIFF

 

 

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CERTIFICATE OF SERVICE
The undersigned certifies that on November 17, 2021, the forgoing was electronically filed
Via the Court’s CM/ECF system on all counsel of record.
/s/ Thomas Patti

THOMAS J. PATTI, ESQ.
Florida Bar No.: 118277

 

 

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